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24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

CASE NUMBER:

F-21850-22

WARRANT NUMBER:

Request for Recall of Arrest Warrant

Suspect Name:
RANDAL QURAN REID

BLACK/AFRICAN AMERICAN, MALE
5094 Panola Mill Dr. .Lithonia Georgia 30038

Charge(s):

10 Count of RS14:71.1--BANK FRAUD-- (Felony)

Date: 11/30/2022

10 Count of RS14:67.16C.(1)--IDENTITY THFT OVER $1,000-- (Felony)
1 Count of RS14:67.B.(2)--THEFT $5,000-$24,999-- (Felony)

I, Sergeant Randy Thibodeaux, am respectfully requesting that the ARREST WARRANT
issued for RANDAL QURAN REID be recalled for the following reason(s):
After further investigation, it was learned Randal Reid was not involved in the crimes

committed.

Respectfully submitted.

Kenya

Sergeant Randy Thibodeaux
Jefferson Parish Sheriff's Office

Given under my official signature, this 30
day of Nov, 2022 at 04:06 PM.

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Judge Patricia Joyce

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON

STATE OF LOUISIANA

PLAINTIFF'S
i EXHIBIT

